225 F.3d 899 (7th Cir. 2000)
    Jimmy Gresham, on his own behalf  and on behalf of a class of those  similarly situated, Plaintiff-Appellant,v.Bart Peterson, in his official capacity as  Mayor of the City of Indianapolis, Indiana,  and the City of Indianapolis, Indiana, Defendants-Appellees.
    No. 99-3770
    In the  United States Court of Appeals  For the Seventh Circuit
    Argued March 30, 2000Decided August 31, 2000
    
      Appeal from the United States District Court  for the Southern District of Indiana, Indianapolis Division.  No. 99 C 1101--S. Hugh Dillin, Judge.[Copyrighted Material Omitted]
      Before Harlington Wood, Jr., Easterbrook and Kanne,  Circuit Judges.
      Kanne, Circuit Judge.
    
    
      1
      Jimmy Gresham challenges an  Indianapolis ordinance that limits street begging  in public places and prohibits entirely  activities defined as "aggressive panhandling."  Gresham believes that the ordinance infringes his  First Amendment right to free speech and his  Fourteenth Amendment right to due process. The  city considers the ordinance a reasonable  response to the public safety threat posed by  panhandlers. The district court found that a  state court could construe the ordinance in such  a way to render it sufficiently clear and  specific and granted the city summary judgment on  Gresham's request for a permanent injunction. We  affirm.
    
    I.  History
    
      2
      The parties have stipulated to the relevant  facts, which for the purposes of reviewing a  summary judgment motion, we accept as true. See  Cable v. Ivy Tech State College, 200 F.3d 467,  476 (7th Cir. 1999). In June 1999, the City of  Indianapolis amended an ordinance regarding  solicitation in public places. The ordinance,  which became effective on July 6, 1999, reads as  follows
    
    
      3
      (a)  As used in this section, panhandling means  any solicitation made in person upon any street,  public place or park in the city, in which a  person requests an immediate donation of money or  other gratuity from another person, and includes  but is not limited to seeking donations:
    
    
      4
      (1)  By vocal appeal or for music, singing, or  other street performance; and,
    
    
      5
      (2) Where the person being solicited receives an  item of little or no monetary value in exchange  for a donation, under circumstances where a  reasonable person would understand that the  transaction is in substance a donation.
    
    
      6
      However, panhandling shall not include the act of  passively standing or sitting nor performing  music, singing or other street performance with  a sign or other indication that a donation is  being sought, without any vocal request other  than in response to an inquiry by another person.
    
    
      7
      (b)  It shall be unlawful to engage in an act of  panhandling on any day after sunset, or before  sunrise.
    
    
      8
      (c)  It shall be unlawful to engage in an act of  panhandling when either the panhandler or the  person being solicited is located at any of the  following locations; at a bus stop; in any public  transportation vehicle or public transportation  facility; in a vehicle which is parked or stopped  on a public street or alley; in a sidewalk caf ;  or within twenty (20) feet in any direction from  an automatic teller machine or entrance to a  bank.
    
    
      9
      (d)  It shall be unlawful to engage in an act of  panhandling in an aggressive manner, including  any of the following actions
    
    
      10
      (1) Touching the solicited person without the  solicited person's consent.
    
    
      11
      (2) Panhandling a person while such person is  standing in line and waiting to be admitted to a  commercial establishment;
    
    
      12
      (3) Blocking the path of a person being  solicited, or the entrance to any building or  vehicle;
    
    
      13
      (4) Following behind, ahead or alongside a  person who walks away from the panhandler after  being solicited;
    
    
      14
      (5) Using profane or abusive language, either  during the solicitation or following a refusal to  make a donation, or making any statement,  gesture, or other communication which would cause  a reasonable person to be fearful or feel  compelled; or,
    
    
      15
      (6)  Panhandling in a group of two (2) or more  persons.
    
    
      16
      (e)  Each act of panhandling prohibited by this  section shall constitute a public nuisance and a  separate violation of this Code. Each violation  shall be punishable as provided in section 103-3  of the Code, and the court shall enjoin any such  violator from committing further violations of  this section.
    
    
      17
      City-County General Ordinance No. 78 (1999),  Revised Code of Indianapolis and Marion County  sec. 407-102. Section 103-3 provides that a  person convicted of violating the ordinance will  be fined not more than $2,500 for each violation.  The ordinance does not provide for imprisonment  of violators, except, of course, a past offender  who violates the mandatory injunction provided in  Paragraph (e) could be jailed for contempt.
    
    
      18
      Jimmy Gresham is a homeless person who lives in  Indianapolis on Social Security disability  benefits of $417 per month. He supplements this  income by begging, using the money to buy food.  He begs during both the daytime and nighttime in  downtown Indianapolis. Because different people  visit downtown at night than during the day, it  is important to him that he be able to beg at  night. Gresham approaches people on the street,  tells them he is homeless and asks for money to  buy food. Gresham has not been cited for  panhandling under the new ordinance, but he fears  being cited for panhandling at night or if an  officer interprets his requests for money to be  "aggressive" as defined by the law.
    
    
      19
      Gresham filed this class action shortly after  the ordinance took effect, requesting injunctive  and declaratory relief. Gresham moved for a  preliminary injunction barring enforcement of the  ordinance on the grounds that it was  unconstitutionally vague and violated his right  to free speech. The district court, after hearing  oral argument, notified the parties that it would  convert its order on the preliminary injunction  into an order on the merits. The parties filed  additional memoranda of law, but no additional  evidence. On September 28, 1999, the court  entered a final order denying the motion for  preliminary injunction and dismissing the case.
    
    
      20
      In the order, the district court construed the  list of six actions that constitute aggressive  panhandling as exclusive, eliminating the danger  that someone could be cited for other,  unenumerated acts. The court further ruled that  the proscription in Paragraph (d)(5) against  actions that make a person "fearful or feel  compelled" was not unconstitutionally vague  because it could be interpreted to mean "fear for  his safety or feel compelled to donate." The  court held that because the ordinance was civil  in nature and the actions prohibited under  aggressive panhandling were not related to speech  interests, no intent element was necessary.  Finally, the court found the ordinance to be a  valid content-neutral regulation under Perry  Educ. Ass'n v. Perry Local Educators' Ass'n, 460  U.S. 37 (1983).
    
    II.  Analysis
    
      21
      On appeal, Gresham raises two principal  arguments. First, he contends that the provisions  defining aggressive panhandling are vague because  they fail to provide clear criteria to alert  panhandlers and authorities of what constitutes  a violation and because they fail to include an  intent element. Second, he argues that the  statute fails the test for content-neutral time,  place and manner restrictions on protected  speech. We review de novo the question of whether  a state law violates the Constitution. See  Scariano v. Justices of Supreme Court of Ind., 38  F.3d 920, 924 (7th Cir. 1994).
    
    A.  The First Amendment
    
      22
      Laws targeting street begging have been around  for many years, but in the last twenty years,  local communities have breathed new life into old  laws or passed new ones. Cities, such as  Indianapolis, have tried to narrowly draw the  ordinances to target the most bothersome types of  street solicitations and give police another tool  in the effort to make public areas, particularly  downtown areas, safe and inviting.
    
    
      23
      While the plaintiff here has focused the  inquiry on the effects of the ordinance on the  poor and homeless, the ordinance itself is not so  limited. It applies with equal force to anyone  who would solicit a charitable contribution,  whether for a recognized charity, a religious  group, a political candidate or organization, or  for an individual. It would punish street people  as well as Salvation Army bell ringers outside  stores at Christmas, so long as the appeal  involved a vocal request for an immediate  donation.
    
    
      24
      The ordinance bans panhandling by beggars or  charities citywide on any "street, public place  or park" in three circumstances. First, it would  prohibit any nighttime panhandling. sec. 407-  102(b). Second, it would prohibit at all times--  day or night--panhandling in specified areas.  sec. 407-102(c). Third, it would prohibit  "aggressive panhandling" at all times. sec. 407-  102(d)(1)-(6). The defendants emphatically point  out that the ordinance allows a great deal of  solicitation, including "passive" panhandling,  which does not include a vocal appeal, street  performances, legitimate sales transactions and  requests for donations over the telephone or any  other means that is not "in person" or does not  involve an "immediate donation." Under the  ordinance, one could lawfully hold up a sign that  says "give me money" and sing "I am cold and  starving," so long as one does not voice words to  the effect of "give me money."
    
    
      25
      Several courts before us, as well as many  commentators, have grappled with understanding  panhandling laws in light of the First Amendment  guarantee of free speech and the constitutional  right to due process. See, e.g., Smith v. City of  Fort Lauderdale, 177 F.3d 954 (11th Cir. 1999);  Loper v. New York City Police Dep't, 999 F.2d 699  (2d Cir. 1993). To this point, the Supreme Court  has not resolved directly the constitutional  limitations on such laws as they apply to  individual beggars, but has provided clear  direction on how they apply to organized  charities, not-for-profits and political groups.  See Riley v. National Fed'n of the Blind of North  Carolina, Inc., 487 U.S. 781, 789 (1988);  Secretary of State of Md. v. Joseph H. Munson  Co., 467 U.S. 947, 959-60 (1984); Village of  Schaumburg v. Citizens for a Better Environment,  444 U.S. 620, 632 (1980).
    
    
      26
      To the extent the Indianapolis ordinance could  be enforced against organized charities, such as  the United Way, Salvation Army or others, the  Supreme Court's holding in Schaumburg would  control resolution of the case. In Schaumburg,  the Supreme Court considered a local prohibition  on solicitation by charities that did not use a  certain percentage of their contributions for  charitable purposes. 444 U.S. at 623-24. As a  threshold consideration, the Court determined  that solicitations by organized charities were  entitled to First Amendment protection. Id. at  632. The Court found that charities often engage  in core First Amendment speech while soliciting  donations, and that without such appeals for  support, the flow of information on many social,  economic, political and cultural topics would  cease. As such, the solicitations by organized  charities were "within the protection of the  First Amendment" although "subject to reasonable  regulation." Id.
    
    
      27
      The Court placed charitable solicitations by  organizations in a category of speech close to  the heart of the First Amendment, and  distinguished it from "purely commercial speech"  which is "primarily concerned with providing  information about the characteristics and costs  of goods and services." Id. Commercial speech, on  the other hand, has been placed lower in the  First Amendment food chain, somewhere between  political speech and pornography. It deserves  protection, but authorities are more free to  regulate commercial speech than core-value  speech.
    
    
      28
      Other courts examining issues similar to those  at hand did not distinguish between solicitation  for organized charities and solicitation by  individual beggars. The Eleventh Circuit held  that "[l]ike other charitable solicitation,  begging is speech entitled to First Amendment  protection." Smith, 177 F.3d at 956 (citing  Schaumburg, 444 U.S. at 632). The Second Circuit  likewise held that for First Amendment purposes,  the distinction between begging for a charity and  begging for one's self is not significant. Loper,  999 F.2d at 704. "We see little difference  between those who solicit for organized charities  and those who solicit for themselves in regard to  the message conveyed." Id. Both Smith and Loper  held that limitations on panhandling must be  analyzed under the same Schaumburg framework as  limitations for charities. Smith, 177 F.3d at  956; Loper, 999 F.2d at 704.
    
    
      29
      Indeed, the Court's analysis in Schaumburg  suggests little reason to distinguish between  beggars and charities in terms of the First  Amendment protection for their speech.  Solicitation, the Court reasoned, "is  characteristically intertwined with informative  and perhaps persuasive speech" which the First  Amendment protects. Schaumburg, 444 U.S. at 632.  Because they are intimately connected,  solicitation cannot be restricted without also  risking the flow of information. Importantly, the  Schaumburg Court expressly rejected the  suggestion that the message and the solicitation  could be considered severable. Id. at 628-32. The  village had argued that the ordinance prohibited  only the request for money and left the charity  free to propagate its views, but the Court called  this view of the First Amendment protection for  solicitors "too limited." After extensively  reviewing its own case law on the subject, the  Court held that restrictions on a charity's  request for money necessarily implicate  restrictions on speech itself. Id. at 632.
    
    
      30
      Similarly, the Indianapolis ordinance protects  the communication of ideas by solicitors and  limits only the bare request for cash. Yet the  two can be closely intertwined. Beggars at times  may communicate important political or social  messages in their appeals for money, explaining  their conditions related to veteran status,  homelessness, unemployment and disability, to  name a few. Like the organized charities, their  messages cannot always be easily separated from  their need for money. While some communities  might wish all solicitors, beggars and advocates  of various causes be vanished from the streets,  the First Amendment guarantees their right to be  there, deliver their pitch and ask for support.  See Schaumburg, 444 U.S. at 632 ("[C]haritable  appeals for funds, on the street or door to door,  involve a variety of speech interests . . . that  are within the protection of the First  Amendment."). Neither the parties to this appeal  nor any authorities found by this Court suggest  we should distinguish between restrictions on  organized charities and individuals for purposes  of understanding the First Amendment guarantees.  Therefore, assuming for the purposes of this  appeal that some panhandler speech would be  protected by the First Amendment, we find that  Schaumburg provides the appropriate standard to  analyze this claim.1
    
    
      31
      After recognizing a First Amendment right to  solicit money in public places, the Schaumburg  Court held that a government may enact  "reasonable regulations" so long as they reflect  "due regard" for the constitutional interests at  stake. 444 U.S. at 632. The parties assume that  the proper analysis to determine whether the  Indianapolis ordinance is one such reasonable  regulation is that set out for "time, place and  manner" restrictions in Perry, 460 U.S. at 45.  Because the Indianapolis ordinance does not ban  all panhandling, we agree that the law could be  understood as a time, place or manner regulation.  See Cantwell v. Connecticut, 310 U.S. 296, 304  (1940). Under Perry, governments may "enforce  regulations of the time, place and manner of  expression which are content neutral, are  narrowly tailored to serve a significant  government interest, and leave open ample  alternative channels of communication." 460 U.S.  at 45. Other courts considering restrictions on  solicitation also have applied the time, place,  manner analysis from Perry. See Smith, 177 F.3d  at 956; ISKCON of Potomac, Inc. v. Kennedy, 61  F.3d 949, 953 (D.C. Cir. 1995); Loper, 999 F.2d  at 704-05.
    
    
      32
      Colorable arguments could be made both for and  against the idea that the Indianapolis ordinance  is a content-neutral time, place or manner  restriction. The Supreme Court has held that  "[g]overnment regulation of expressive activity  is content neutral so long as it is 'justified  without reference to the content of the regulated  speech.'" Ward v. Rock Against Racism, 491 U.S.  781, 791 (1989) (citation omitted). To help apply  this somewhat circular definition, the Court  instructed that the principal inquiry is "whether  the government has adopted a regulation of speech  because of disagreement with the message it  conveys." Id. In City of Cincinnati v. Discovery  Network, Inc., 507 U.S. 410, 428-29 (1993), the  Court held that a ban on newsracks containing  commercial handbills but not newspapers was  content-based because "whether any particular  newsrack falls within the ban is determined by  the content of the publication resting inside  that newsrack." Similarly here, whether a  solicitor violates the ordinance depends on  whether he asked for cash rather than for  something else. On one side of the argument, the  city ordinance does not prohibit all solicitation  on city streets, only solicitations for immediate  cash donations. One could, for instance, ask  passers-by for their signatures, time, labor or  anything else, other than money. Only by  determining the specific content of a solicitor's  speech could authorities determine whether they  violated the ordinance, which would seem to be a  content-based restriction. See id. at 429; Ward,  491 U.S. at 791. But as Ward and more recently  Hill v. Colorado, 120 S.Ct. 2480, 2491 (2000),  emphasized, the inquiry into content neutrality  in the context of time, place or manner  restrictions turns on the government's  justification for the regulation. Because the  parties here agree that the regulations are  content neutral, we need not decide whether the  Indianapolis ordinance can be justified without  reference to the content of the regulated speech.  Thus the Indianapolis ordinance should be upheld  if it is narrowly tailored to achieve a  significant governmental purpose and leaves open  alternate channels of communication.
    
    
      33
      The city has a legitimate interest in promoting  the safety and convenience of its citizens on  public streets. See Madsen v. Women's Health  Center, 512 U.S. 753, 768 (1994) (holding that  the state "also has a strong interest in ensuring  the public safety and order, in promoting the  free flow of traffic on public streets and  sidewalks . . ."); Heffron v. International Soc.  for Krishna Consciousness, Inc., 452 U.S. 640,  650 (1981) (recognizing state interest in safety  and convenience of citizens using public fora);  Cox v. New Hampshire, 312 U.S. 569, 574 (1941)  (recognizing state interest in safety and  convenience on public roads); Ayres v. City of  Chicago, 125 F.3d 1010, 1015 (7th Cir. 1997)  ("There are unquestionable benefits from  regulating peddling, First Amendment or  otherwise, [including] the control of  congestion."). The plaintiff concedes this much,  but argues that a total nighttime ban on verbal  requests for alms is substantially broader than  necessary and therefore cannot be considered  narrowly tailored. However, a government  regulation can be considered narrowly tailored  "so long as the . . . regulation promotes a  substantial government interest that would be  achieved less effectively absent the regulation."  Ward, 491 U.S. at 799. This means the regulation  need not be a perfect fit for the government's  needs, but cannot burden substantially more  speech than necessary. Id. at 800. Furthermore,  a time, place or manner restriction need not be  the least restrictive means of achieving the  government purpose, so long as it can be  considered narrowly tailored to that purpose. Id.  at 797.
    
    
      34
      The city determined that vocal requests for  money create a threatening environment or at  least a nuisance for some citizens. Rather than  ban all panhandling, however, the city chose to  restrict it only in those circumstances where it  is considered especially unwanted or bothersome--  at night, around banks and sidewalk cafes, and so  forth. These represent situations in which people  most likely would feel a heightened sense of fear  or alarm, or might wish especially to be left  alone. By limiting the ordinance's restrictions  to only those certain times and places where  citizens naturally would feel most insecure in  their surroundings, the city has effectively  narrowed the application of the law to what is  necessary to promote its legitimate interest.
    
    
      35
      Finally, the plaintiff contends that the statute  fails to provide ample alternative channels of  communication. We disagree. An adequate  alternative does not have to be the speaker's  first or best choice, see Heffron, 452 U.S. at  647, or one that provides the same audience or  impact for the speech. See Ward, 491 U.S. at 802;  Cornelius v. NAACP Legal Defense and Educational  Fund, Inc., 473 U.S. 788, 809 (1985) (holding  that in context nonpublic forum, an ample  alternative does not need to be the most  efficient one for speaker's purposes). However,  the Court has "shown special solicitude for forms  of expression that are much less expensive than  feasible alternatives," City Council of Los  Angeles v. Taxpayers for Vincent, 466 U.S. 789,  812 n.30 (1984), and so an alternative must be  more than merely theoretically available. It must  be realistic as well. See Linmark Assocs., Inc.  v. Township of Willingboro, 431 U.S. 85, 93  (1977). Furthermore, an adequate alternative  cannot totally foreclose a speaker's ability to  reach one audience even if it allows the speaker  to reach other groups. See Bery v. City of New  York, 97 F.3d 689, 698 (2d Cir. 1996) (holding  that total ban on sidewalk art does not leave  open alternative means of communication because  alternative display in galleries or museums would  not reach the same audience.)
    
    
      36
      The Indianapolis ordinance allows many feasible  alternatives to reach both the daytime and  nighttime downtown Indianapolis crowds. Under the  ordinance, panhandlers may ply their craft  vocally or in any manner they deem fit (except  for those involving conduct defined as  aggressive) during all the daylight hours on all  of the city's public streets. Gresham contends  that soliciting at night is vital to his  survival, a fact we do not dispute, but the  ordinance leaves open many reasonable ways for  him to reach the nighttime downtown crowd. He may  solicit at night, so long as he does not vocally  request money. He may hold up signs requesting  money or engage in street performances, such as  playing music, with an implicit appeal for  support. Although perhaps not relevant to street  beggars, the ordinance also permits telephone and  door-to-door solicitation at night. Thus to the  extent that "give me money" conveys an idea the  expression of which is protected by the First  Amendment, solicitors may express themselves  vocally all day, and in writing, by telephone or  by other non-vocal means all night. Furthermore,  they may solicit in public places on all 396.4  square miles of the city, except those parts  occupied by sidewalk cafes, banks, ATMs and bus  stops. This is a far cry from the total citywide  ban on panhandling overturned by the court in  Loper, 999 F.2d at 705 ("[A] statute that totally  prohibits begging in all public places cannot be  considered 'narrowly tailored.'"), or the total  ban on panhandling in a five-mile area of public  beach upheld by the court in Smith, 177 F.3d at  956.
    
    B.  Vagueness
    
      37
      Gresham next challenges certain provisions of  the ordinance as unconstitutionally vague.  Specifically, he contends that the definition of  aggressive panhandling in sections (d)(4) and  (d)(5) are not sufficiently clear to direct  authorities on the enforcement of the law, nor to  allow panhandlers such as Gresham to avoid  violating the law. Section (d)(4) prohibits  "[f]ollowing behind, ahead or alongside a person  who walks away from the panhandler after being  solicited." Gresham argues hypothetically that  police could cite a person for inadvertently  violating this section merely by walking in the  same direction as the solicited person, without  intending to engage in "aggressive panhandling."  Also, section (d)(5) refers to making a person  "fearful or feel compelled" without defining what  the terms mean in relation to panhandling. A  generalized guilt at economic inequality might  make one "feel compelled" even by the meekest  request for money.
    
    
      38
      The void-for-vagueness doctrine forbids the  enforcement of a law that contains "terms so  vague that [persons] of common intelligence must  necessarily guess at its meaning and differ as to  its application." Roberts v. United States  Jaycees, 468 U.S. 609, 629 (1984) (quoting  Connally v. General Construction Co., 269 U.S.  385, 391 (1926)). Legislative enactments must  articulate terms "with a reasonable degree of  clarity" to reduce the risk of arbitrary  enforcement and allow individuals to conform  their behavior to the requirements of the law.  Id. A statute that "vests virtually complete  discretion in the hands of the police" fails to  provide the minimal guidelines required for due  process. See Kolender v. Lawson, 461 U.S. 352,  358 (1983).
    
    
      39
      In assessing the constitutionality of an  allegedly vague state law or ordinance, "a  federal court must, of course, consider any  limiting construction that a state court or  enforcement agency has proffered." Village of  Hoffman Estates v. Flipside, Hoffman Estates,  Inc., 455 U.S. 489, 494 n.5 (1982) ("Hoffman  Estates"); see also Roberts, 468 U.S. at 630-31;  Kolender, 461 U.S. at 355 &amp; n.4. In this case,  the Indiana courts have not yet had an  opportunity to interpret the terms of the  Indianapolis ordinance, and so we have no  authoritative judicial construction of its terms.  See generally, Brownsburg Area Patrons Affecting  Change v. Baldwin, 714 N.E.2d 135, 141 (Ind.  1999) ("We have regularly said that courts have  an overriding obligation to construe our statutes  in such a way as to render them constitutional if  reasonably possible.") (internal quotation and  citations omitted). However, the rule that  federal courts should defer to state court  interpretations of state laws, see City of  Chicago v. Morales, 527 U.S. 41 (1999), also  discourages federal courts from enjoining  statutes that could be easily narrowed by a state  court to avoid constitutional problems. See  Erznoznik v. City of Jacksonville, 422 U.S. 205,  216 (1975) ("[A] state statute should not be  deemed facially invalid unless it is not readily  subject to a narrowing construction by the state  courts.") (citing Dombrowski v. Pfister, 380 U.S.  479, 497 (1965)). Therefore, we will not hold a  vague statute unconstitutional if a reasonable  interpretation by a state court could render it  constitutional in some application.
    
    
      40
      Laws must contain a "reasonable degree of  clarity" so that people of "common intelligence"  can understand their meaning. Roberts, 468 U.S.  at 629. Furthermore, because the penalties for  noncompliance are less severe, laws imposing  civil rather than criminal penalties do not  demand the same high level of clarity. See  Hoffman Estates, 455 U.S. at 498-99. Like the  civil sanction at issue in Hoffman Estates,  Gresham faces only a fine for noncompliance with  the Indianapolis law. However, this lowered  burden is mitigated by the fact that the  Indianapolis ordinance potentially interferes  with the right of free speech, suggesting that a  "more stringent vagueness test should apply." Id.  at 499 (citing Papachristou v. City of  Jacksonville, 405 U.S. 156, 162 (1972) and  Grayned v. City of Rockford, 408 U.S. 104, 109  (1972)).
    
    
      41
      The challenged provisions in this case define  what the City Council meant by the term  "aggressive panhandling" and must be read in that  context. The district court was rightly concerned  that Paragraph (d) could be construed as offering  an incomplete list of examples of prohibited  behavior, leaving open the possibility that other  unspecified actions might also be considered  illegal, which would raise serious due process  concerns. The district court suggested that the  list might be exclusive rather than illustrative,  a reasonable interpretation which, if adopted by  the Indiana courts, would save it from a  vagueness challenge.
    
    
      42
      Likewise, Paragraphs (d)(4) and (d)(5) are  subject to reasonable interpretations that answer  the vagueness challenge. A state court  interpreting Paragraph (d)(4) may read it to  prohibit "following" only in the context of a  continued request for money such that the victim  reasonably interprets the behavior as a threat.  A continuing request for a donation coupled with  "following" would be prohibited, but walking in  the same direction as the solicited person would  not be against the law if the walking were  divorced from the request. Construed this way,  the statute would prohibit the type of harassing  behavior that governments routinely outlaw. See,  e.g., Ind. Code sec. 35-45-2-1 (prohibiting as  intimidation a threat by words or action that  forces a person to engage in conduct against  their will); Ind. Code sec. 35-45-10-1  (prohibiting as stalking a "course of conduct involving repeated or continuing harassment of  another person that would cause a reasonable  person to feel terrorized, frightened,  intimidated, or threatened."); Johnson v. State,  648 N.E.2d 666, 670 (Ind. Ct. App. 1995)  (upholding stalking statute against vagueness  challenge). Numerous cases hold that governments  may proscribe threats, extortion, blackmail and  the like, "despite the fact that they criminalize  utterances because of their expressive content."  United States v. Hayward, 6 F.3d 1241, 1259 (7th  Cir. 1993) (Flaum, J., concurring); see, e.g.,  Watts v. United States, 394 U.S. 705, 707 (1969)  (upholding constitutionality of law against  threatening life of the President); United States  v. Velasquez, 772 F.2d 1348, 1357 (7th Cir. 1985)  (holding that threats of physical violence are  not protected by First Amendment); see also  R.A.V. v. City of St. Paul, 505 U.S. 377, 420  (1992) (Stevens, J., concurring) (quoting  Frederick Schauer, Categories and the First  Amendment: A Play in Three Acts, 34 Vand. L. Rev.  265, 270 (1981)) ("Although the First Amendment  broadly protects 'speech,' it does not protect  the right to 'fix prices, breach contracts, make  false warranties, place bets with bookies,  threaten, [or] extort.'").
    
    
      43
      Paragraph (d)(5) could be construed to prohibit  "any statement, gesture, or other communication"  that makes a reasonable person feel they face  danger if they refuse to donate, that they are  being compelled out of physical fear. The  possibility that a polite request for a donation  might be heard as a threatening demand by an  unusually sensitive or timid person is eliminated  by the "reasonable person" standard included in  the ordinance. A statement that makes a  reasonable person feel compelled to donate out of  physical fear amounts to a prohibition on robbery  or extortion, which of course would be  constitutional. While it is not a certainty that  the state courts would adopt constitutional  interpretations of the panhandling provisions,  they are entitled to the opportunity to do so,  and we will not interfere with that right. The  district court did not err in refusing to enjoin  the ordinance based on the vagueness concerns.
    
    III.  Conclusion
    
      44
      For the foregoing reasons, we Affirm the district  court's denial of a permanent injunction and  dismissal of Gresham's complaint.
    
    
      
        Note:
      
      
        1
         As an aside, we note that the Court in Schaumburg  distinguished solicitation from commercial  speech, which is "primarily concerned with  providing information about the characteristics  and costs of goods and services." 444 U.S. at  632. The Eleventh Circuit, noting that the  parties did not raise the argument, declined to  reach the issue of whether panhandling could be  considered commercial speech and therefore  subject to more regulation. See Smith, 177 F.3d  at 956 n.2. We too will follow that prudent  approach and not decide an issue the parties  declined to raise. See generally Robert C.  Ellickson, Controlling Chronic Misconduct in City  Spaces Of Panhandlers, Skid Rows, and Public-  Space Zoning, 105 Yale L.J. 1165, 1229 (1996)  (discussing possibility of treating begging as  commercial speech). In any event, considering the  Supreme Court's definition of commercial speech  as outlined in Schaumburg, we doubt panhandling  falls into this classification.
      
    
    